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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
IN   RE:                                           §
                                                   §
ELECTROTEK CORPORATION,                            §               CASE NO. 21-30409—mvl
                                                   §               Chapter       11
           Debtor.                                 §

                             NOTICE OF WITHDRAWAL OF BALLOT
          COMES Now Pawnee Leasmg Corporation and         les   tlus its Notlee of Withdrawal of 1ts Ballot
based   on the assumption of Its contract by the Debtor




                                                          Pawnee Leasmg Cm‘ppratlon
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                                                          Its    JenmferSé’lnnidt

                                                          Executlve VP CPO

                                                          Date      11/15/2021
